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                              EXHIBIT E
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 19-20178-CR-ALTONAGA/Goodman

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   ROBERT SHAPIRO,

         Defendant.
   ______________________________/

                                               ORDER

          THIS CAUSE came before the Court on the Government’s Motion to Compel Disclosure

   of, and Discovery Regarding, Any Advice of Counsel Defense by July 8, 2019 [ECF No. 88], filed

   June 27, 2019. The Court has carefully reviewed the Motion, Defendant’s Response in Opposition

   . . . [ECF No. 100], the Government’s Reply [ECF No. 106], and applicable law. The relief the

   Government seeks is evident from the title of the Motion; the Court proceeds directly to addressing

   the reasons why the Motion is granted.

          In his Response, Defendant argues: (1) the Court should deny as improper and premature

   the Government’s effort to exclude rebuttal evidence and defenses (see Resp. 2–3); (2) it is

   premature to determine now whether an advice-of-counsel instruction should be given at the

   conclusion of his trial (see id. 3–4); (3) the Government’s Motion is a fishing expedition “seeking

   to obtain confidential documents and information that would reveal trial strategies, rebuttal

   arguments and other defense camp work product” (id. 4); and (4) the Government already

   possesses a substantial amount of the information and documents relating to his advice-of-counsel

   defense, and “it is disingenuous for the government to claim that it is unable to prepare for trial
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   absent the relief it seeks” (id. 6). Defendant’s arguments all miss the point being made in the

   Motion.

          A defendant who asserts an advice-of-counsel defense waives the attorney-client privilege

   “with respect to communications with counsel concerning” the subject matter of that advice.

   United States v. Jensen, 573 F. App’x 863, 870 (11th Cir. 2014) (citations omitted); Immuno Vital,

   Inc. v. Telemundo Grp., Inc., 203 F.R.D. 561, 564 (S.D. Fla. 2001). As noted by the Government,

   if Defendant does not provide notice and discovery of his communications with attorneys which

   form the basis of his anticipated advice-of-counsel defense, the Government will be forced, in the

   middle of trial, to request the Court halt the trial in order for the Government to review a large

   quantity of new information, thereby disrupting the speedy trial Defendant has insisted upon. (See

   Reply 1–2). The Court does not sanction a trial process that anticipates and rushes headlong into

   such delay and inefficiency. Furthermore, allowing Defendant to raise an advice-of-counsel

   defense in the absence of a proper factual predicate also risks juror confusion and a waste of time

   and resources, regardless of whether the jury instruction on the advice-of-counsel defense is

   ultimately given. (See id. 2).

          The Court adopts the sound reasoning of the district court in United States v. Crowder, 325

   F. Supp. 3d 131 (D.D.C. 2018), in granting a similar pre-trial motion seeking notice and disclosure

   of the defendant’s advice-of-counsel defense:

          The Court finds the rationale for requiring such pretrial notice and disclosure
          persuasive. Defendants’ decision on whether to assert the advice-of-counsel
          defense may impact the scope of discovery otherwise permitted or ordered, and
          thus risks unnecessary interruption and delay if asserted at trial. Moreover, because
          an advice-of-counsel defense is complex it may raise issues requiring additional
          briefing before trial.
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   Id. at 138 (alterations, quotation marks, and internal citations omitted). See also id. (noting that

   “[a]lthough the Federal Rules of Criminal Procedure do not specifically require defendants to

   provide pretrial notice of an advice-of-counsel defense, courts have broad discretion to impose

   disclosure and notice requirements outside the [R]ules” (alterations added; citations omitted));

   Memory Bowl v. N. Pointe Ins. Co., 280 F.R.D. 181, 186 (D.N.J. 2012) (requiring the defendant

   “to advise whether or not it intends to rely on an ‘advice-of-counsel’ defense” prior to trial in order

   to avoid “unnecessary delay or expense”).

          For the foregoing reasons, it is

          ORDERED AND ADJUDGED that the Government’s Motion to Compel Disclosure of,

   and Discovery Regarding, Any Advice of Counsel Defense by July 8, 2019 [ECF No. 88] is

   GRANTED in part and DENIED in part. The Court will not require Defendant to give “a proffer

   of the substance of the legal advice on which he relied” (Reply 2), as requested by the Government.

   Nevertheless, if Defendant intends to rely on an advice-of-counsel defense at trial, he shall, by

   July 22, 2019: (1) identify the attorneys who purportedly provided such advice; and (2) waive

   privilege over, and produce to the Government, all communications he had with those attorneys.

   If Defendant fails to comply, he will be barred from raising the defense before the jury.

          DONE AND ORDERED in Miami, Florida, this 8th day of July, 2019.



                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE

   cc:    counsel of record

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